 Fill in this information to identify the case:
 Debtor name AFFILIATED CREDITORS, INC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF TENNESSEE                                                                             Check if this is an

 Case number (if known):               20-01132                                                                                                       amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Phydata                         Joy Sweeney                                                                                                                            $134,038.99
 ATTN: Joy Sweeney
 P.O. BOX 249                    joy.sweeney@phyd
 GOODLETTSVILLE,                 ata.com
 TN 37072
 MAURY REGIONAL                  Alex Ross                                                                                                                              $114,179.44
 HEALTH SYSTEM
 1224 TROTWOOD                   saross@mauryregi
 AVENUE                          onal.com
 COLUMBIA, TN
 38401
 SAINT THOMAS                    Will Reiners                                                                                                                             $90,859.11
 HEALTH R1RCM
 ATTN: Will Reiners              wreiners@r1rcm.c
 300 20th Ave North              om
 Ste 402
 NASHVILLE, TN
 37203
 Roy A. Williams, Sr.                                                                                                                                                     $80,000.00
 317 Queens Dr
 Mount Juliet, TN
 37122
 Farsheed Ferdowsi                                                                                                                                                        $80,000.00
 9472 Highland Bend
 Ct
 Brentwood, TN
 37027
 BRAULT                          Melissa Hogan                                                                                                                            $67,135.44
 180 Via Verde Ste
 100                             melissah@brault.u
 SAN DIMAS, CA                   s
 91773




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                                                                       Document      Page 1 of 3
 Debtor    AFFILIATED CREDITORS, INC                                                                          Case number (if known)         20-01132
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Amex Business                                                                                                                                                            $40,403.00
 Gold Rewards                    abecket@becket-le
 c/o Becket & Lee                e.com
 LLP
 PO Box 3001
 Malvern, PA
 19355-0701
 WILLIAMSON                      Rhonda Holt                                                                                                                              $40,126.77
 MEDICAL CENTER
 ATTN: Rhonda Holt               rholt@wmed.org
 4321 CAROTHERS
 PARKWAY
 FRANKLIN, TN
 37064
 Freeman Webb                                                                                                                                                             $24,265.78
 Company                         kirby.davis@freem
 3810 Bedford                    anwebb.com
 Avenue Ste 300
 NASHVILLE, TN
 37215
 Lincoln County                  Kirby Hedrick                                                                                                                            $12,702.41
 Health System
 ATTN: KIRBY                     kirby.hedrick@lche
 HEDRICK                         althsystem.com
 106 Medical Center
 FAYETTEVILLE, TN
 37334
 ANATOMIC &                      Teresa                                                                                                                                   $10,909.85
 CLINICAL LAB
 ASSO                            tlemmons@aclapat
 ATTN: Teresa                    h.com
 2010 CHURCH ST
 SUITE 615
 NASHVILLE, TN
 37203
 Elmington Property              Kerri Davis                                                                                                                                $8,744.21
 Management
 Attn: Kerri Davis               kdavis@elmington
 118 16th Avenue                 pm.com
 South STE 200
 Nashville, TN 37203
 VANDERBILT                      Drea Gaffney                                                                                                                               $8,594.47
 MEDICAL CENTER -
 FINANCE                         drea.gaffney@vum
 ATTN: Drea Gaffney              c.org
 3841 Green Hills
 Village Dr. Ste
 200Nash
 NASHVILLE, TN
 37215




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 Debtor    AFFILIATED CREDITORS, INC                                                                          Case number (if known)         20-01132
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 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Middle Tennessee                Jessica Nix                                                                                                                                $6,656.76
 Emergency
 Physicians                      jessicanix@epbs1.
 P.O. Box 337                    com
 Lafayette, TN 37083
 ESCAMBIA COUNTY                 Tamika Williams                                                                                                                            $5,146.00
 EMS
 6575 N. W STREET                tlwilliams@co.esca
 PENSACOLA, FL                   mbia.fl.us
 32505
 BYERS & HARVEY,                 Penny                                                                                                                                      $4,890.12
 INC
 ATTN: PENNY                     penny@byersandh
 529 N SECOND ST                 arvey.com
 CLARKSVILLE, TN
 37040
 EMERGENCY                       Kim Ringo                                                                                                                                  $2,474.35
 MEDICAL
 SERVICES                        carterl@emsa.net
 ATTN: Accounting
 1111 Classen Dr.
 Oklahoma, OK
 73103
 PATHOLOGIST                     Leah King                                                                                                                                  $2,311.84
 LABORATORY, P.C.
 4733 ANDREW                     lking@plpcpath.co
 JACKSON PKWY.                   m
 HERMITAGE, TN
 37076
 UNITY HEALTH                    Nannette Douglas                                                                                                                           $1,982.78
 WHITE COUNTY
 MEDI                            NANNETTE.DOUGL
 ATTN: KEVIN                     AS@UNITYHEALT
 BURTON                          H.ORG
 3214 E RACE
 AVENUE
 SEARCY, AR 72143
 HIGHMARK                        Lisa Graham                                                                                                                                $1,574.98
 RIDGETOP
 APARTMENTS                      RIDGETOP@ENFIE
 2009 LAYMAN RD                  LD-GROUP.COM
 #97
 ATHENS, TN 37303




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